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 6                        UNITED STATES DISTRICT COURT

 7                      SOUTHERN DISTRICT OF CALIFORNIA

 8                      (HONORABLE JANIS L. SAMMARTINO)

 9
     UNITED STATES OF AMERICA,       )   CASE NO.: 21-CR-2455-JLS
10                                   )
          Plaintiff,                 )
11   v.                              ) ORDER TO CONTINUE MOTION
                                     ) HEARING/TRIAL SETTING
12   JOSE BADILLO-GUTIERREZ,         )
                                     )
13                                   )
          Defendant.                 )
14   _______________________________ )
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           Pursuant to joint motion and good cause appearing, it is hereby ordered that
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     the motion hearing/trial setting currently scheduled for October 1, 2021 be
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     continued to October 29, 2021 at 1:45 p.m.
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           For the reasons set forth in the joint motion, the Court finds that the ends of
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     justice will be served by granting the requested continuance, and these outweigh
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     the interests of the public and the defendant in a speedy trial. Accordingly, the
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     delay occasioned by this continuance is excludable pursuant to 18 U.S.C. §
22
     3161(h)(7)(A).
23
           IT IS SO ORDERED.
24
25   Dated: September 29, 2021
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